




NO. 07-07-0456-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



APRIL 9, 2008



______________________________





IN THE INTEREST OF K.B.F.J., K.D.J., AND K.J., CHILDREN





_________________________________



FROM THE 320TH DISTRICT COURT OF POTTER COUNTY;



NO. 63,691-D; HONORABLE DON EMERSON, JUDGE



_______________________________



Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

MEMORANDUM OPINION

On March 20, 2007, Appellant, Erika Lizette Fierro, filed a 
Petition to Modify Parent-Child Relationship
, which the trial court denied. &nbsp;Fierro timely perfected this appeal from the trial court’s order and the appellate record has been filed. &nbsp;Her brief was due to be filed on March 10, 2008, but has yet to be filed. &nbsp;Also, no motion for extension of time was filed. &nbsp;By letter from the Clerk of this Court dated March 17, 2008, Fierro was notified of the defect and directed to file the brief on or before March 27, 2008, noting that failure to comply might result in dismissal of the appeal pursuant to the Texas Rules of Appellate Procedure. &nbsp;Fierro did not respond and the brief remains outstanding.

Consequently, the appeal is dismissed for want of prosecution and failure to comply with a notice from the Clerk of this Court requiring a response or other action in a specified time. &nbsp;
See 
Tex. R. App. P. 38.8(a)(1) and 42.3(b) and (c).





Patrick A. Pirtle

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice


